Case 3:23-cr-00460-M BUDRRD STATES DISTRIGZCOURT. 1 of 1 PagelD 31

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
JUDGE: REBECCA RUTHERFORD
DEPUTY CLERK: L. Price COURT REPORTER/TAPE NO: FTR
LAW CLERK: USPO/PTSO:
INTERPRETER: COURTTIME: //:Q3- ///A
A.M. | P.M. DATE: November 3, 2023
COMAG. NO. CIDIST. CR. NO. 3:23-mj-00808-BH *SEALED* USD]J Magistrate Judge Irma Carrillo
Ramirez
UNITED STATES OF AMERICA § ___Robert Withers_____—s—s, AUSA
§
V. § O
§
§ ___DanGividen Oo
COREY WILSON (1) § COUNSEL FOR DEFENDANTS APPT - (A), Retd - (R), FPD - (F)

Mire heldre

CINJTIAL APPEARANCE COIDENTITY CIBOND HEARING [#PRELIMINARY HEARING
ETENTION HEARING TICOUNSEL DETERMINATION HEARING DREMOVAL HEARING CIEXTRADITION HEARING
C] HEARING CONTINUED ON CASE NO. CIOTHER DISTRICT CIDIVISION
CJ DATE OF FEDERAL ARREST/CUSTODY: 10/31/2023 LISURRENDER.
() RULE 5/32 APPEARED ON WRIT
CO DEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES CPROBATION/SUPERVISED RELEASE VIOLATOR
( DEFT FIRST APPEARANCE WITH COUNSEL.
© DEFT CIMW (MATERIAL WITNESS) APPEARED DWITH (WITHOUT COUNSEL
1 REQUESTS APPOINTED COUNSEL.
DC FINANCIAL AFFIDAVIT EXECUTED.
C1 ORDER APPOINTING FEDERAL PUBLIC DEFENDER.
[) PRIVATE COUNSEL APPOINTED
C1) DEFT HAS RETAINED COUNSEL
[CJ ARRAIGNMENT SET CIDETENTION HEARING SET

( PRELIMINARY HEARING SET CIBOND HEARING SET

() COUNSEL DETERMINATION HEARING SET

CO IDENTITY/REMOVAL HEARING SET

{BOND SET DIREDUCED TO $ CICASH O SURETY 010% [J PR OUNS 03RD PTY CIMW
C1 NO BOND SET AT THIS TIME, | > DAY DETENTION ORDER TO BE ENTERED.

(1 ORDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED.

C1 ORDER OF DETENTION PENDING TRIAL ENTERED.

[DEFT ADVISED OF CONDITIONS OF RELEASE.

CO BOND EXECUTED CIDEFT TIMW RELEASED CISTATE AUTHORITIES COINS

C1 DEFT LIMW REMANDED TO CUSTODY.

C),DEFT ORDERED REMOVED TO ORIGINATING DISTRICT.

to WAIVER OF MPRELIMINARY HEARING ULE 5/32 HEARING CDETENTION HEARING
4 COURT FINDS PROBABLE CAUSE UID MPC.

C DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRANT. Us, DisTRIGT COURT
(1 GOVERNMENT TO NOTIFY FOREIGN CONSULAR. NORTHERN DISTRICT OF TEXAS
C FED. R. CRIM. P. 5(f)(1) ORAL ORDER ISSUED. WRITTEN ORDER TO FOLLDW. FILED
CYREMARKS: (me0 F40 Len Kd dese L.ctran, NOV - 3 2023
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frovtce Y Naan - CLERK, U.S. DIS PRCT SRT
By.
Deputy 77 ¥
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